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                              UNITED STATES DISTRICT COURT
                                  DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA                       )
                                                )
           v.                                   )
                                                ) Case No.: 1:21-cr-105 (JMC)
                                                )
 HENRY PHILLIP MUNTZER                          )

           AMENDED MOTION FOR EXTENSION OF SELF SURRENDER DATE

          Henry Muntzer, by and through counsel moves this Honorable Court to extend the time

 for him to self-surrender. In support thereof, he states the following:

          1. On November 18, 2024, Muntzer received an email advising him to surrender at FCI

 Lompoc I on November 26, 2024 – no later than 2 PM.

          2. Muntzer moves this Court to allow additional time to get his affairs in order. He

 requests that his self-surrender date be rescheduled to the first week of January 2025.

                                                       RESPECTFULLY SUBMITTED

                                                       /s/ Christopher M. Davis
                                                       Davis & Davis
                                                       1350 Connecticut Ave, NW Suite 202
                                                       Washington, DC 20036
                                                        (202) 234-7300


                                  CERTIFICATE OF SERVICE

          I hereby certify I have on this 19th day of November 2024, filed the above using the

Court’s Electronic Filing System (ECF) which sent a true and correct copy to all counsel of

record.


                                                        /s/
                                                        Christopher M. Davis
